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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7
                                         IN RE: APPLE INC. DEVICE
                                   8     PERFORMANCE LITIGATION                               Case No. 5:18-md-02827-EJD

                                   9                                                          ORDER RE MOTION TO SEAL
                                                                                              SECOND AMENDED COMPLAINT
                                  10                                                          AND RE PROCEDURE FOR MOTIONS
                                                                                              TO SEAL
                                  11
                                                                                              Re: Dkt. No. 279, 304, 311
                                  12
Northern District of California
 United States District Court




                                  13          The Court presently considers the parties’ Joint Administrative Motion to File Plaintiffs’

                                  14   Second Amended Complaint (“SAC”) Under Seal. Dkt. 304. The Court does not consider the

                                  15   substance of the other motions to seal currently pending. Dkt. 279, 311. For the reasons discussed

                                  16   herein, the Court grants in part and denies in part this Motion. The Court also provides instruction

                                  17   to the parties on how they should prepare motions to seal going forward. In light of the new

                                  18   instructions and this Order as to specific portions of the SAC sought to be sealed, the other

                                  19   motions to seal are hereby denied without prejudice. After meeting and conferring in good faith,

                                  20   the parties shall re-rile those motions to seal as described below.

                                  21          This Motion is the parties’ second attempt to seal the SAC. The Court denied without

                                  22   prejudice the previous motion to seal the SAC. Dkt. 243, 290. In the prior order, the Court

                                  23   considered authorities holding that, for documents like the SAC that are more than tangentially

                                  24   related to the underlying action, there exists “strong presumption in favor of access,” but courts

                                  25   should still seal where there are “compelling reasons supported by specific factual findings” for

                                  26   doing so. Dkt. 290 at 1-2 (citing Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

                                  27   (9th Cir. 2006) and Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1099 (9th Cir. 2016)).

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                                   1   The Court denied that motion because it was overly broad. Dkt. 290. The Court declined to

                                   2   examine the proposed redactions, but instead sought to provide guidance to the parties stating that

                                   3   the following categories of redactions were too broad: “general descriptions of how lithium-ion

                                   4   batteries function; titles of sections that do not disclose any confidential information; the existence

                                   5   of other investigations regarding Apple’s conduct; and general descriptions of plaintiffs’

                                   6   allegations.” Id. at 2. In the Order denying the motion to seal portions of the motion to dismiss,

                                   7   the Court provided further guidance, finding that “Apple seeks to seal generalized allegations

                                   8   regarding its conduct. For example, Apple seeks to seal Plaintiffs’ allegation that ‘[Apple’s]

                                   9   representation was plainly intended to convey to consumers that the battery in their Device was

                                  10   designed to continue to function as advertised for approximately 500 days.’” Dkt. 291 at 2.

                                  11          “It is clear that the courts of this country recognize a general right to inspect and copy

                                  12   public records and documents, including judicial records and documents.” Nixon v. Warner
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                                  13   Commc’ns, Inc., 435 U.S. 589, 597 (1978). But, the party seeking to seal materials may show

                                  14   compelling reasons where their disclosure “could be used to ‘gratify private spite or promote

                                  15   public scandal,’ to circulate ‘libelous’ statements, or ‘as sources of business information that

                                  16   might harm a litigant’s competitive standing.’” Lucas v. Breg, Inc., 2016 WL 5464549, at *1

                                  17   (S.D. Cal. Sept. 28, 2016) (quoting Nixon, 435 U.S. at 598). To make this showing, the moving

                                  18   party must provide “specific factual findings that outweigh the general history of access and the

                                  19   public policies favoring disclosure.” Opperman v. Path, Inc., 2017 WL 1036652, at *1 (N.D. Cal.

                                  20   Mar. 17, 2017). Courts applying the compelling reasons standard have upheld the sealing of trade

                                  21   secrets, marketing strategies, product development plans, detailed product-specific financial

                                  22   information, customer information, internal reports and other such materials that could harm a

                                  23   party’s competitive standing. See, e.g., In re Elec. Arts, Inc., 298 F. App’x 568, 569 (9th Cir.

                                  24   2008); Opperman, 2017 WL 1036652; Lucas, 2016 WL 5464549; Rodman v. Safeway Inc., 2015

                                  25   WL 13673842 (N.D. Cal. Aug. 4, 2015). However, courts should exercise caution not allow these

                                  26   exceptions swallow the strong presumption in favor of disclosure. “There fact that the production

                                  27   of records may lead to a litigant’s embarrassment, incrimination, or exposure to further litigation

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                                   1   will not, without more, compel the court to seal its records.” Lucas, 2016 WL 5464549, at *1

                                   2   (S.D. Cal. Sept. 28, 2016) (quoting Kamakana, 447 F.3d at 1179).

                                   3          Here, the parties have not agreed how much of the SAC should be sealed and are not close

                                   4   to agreement. Apple has proposed redactions to about 40 paragraphs. Plaintiffs agree that one

                                   5   portion of one paragraph meets the compelling reasons standard and opposes the other redactions.

                                   6   Both parties overreach. Google, again, seeks to seal “generalized allegations regarding its

                                   7   conduct” as well as other material that does not meet the compelling-reasons standard. But

                                   8   Plaintiffs oppose sealing material that would have a negative impact on Google’s competitive

                                   9   standing in the market if disclosed.

                                  10          The Court now ORDERS as follows as to the particular portions of the SAC that Apple

                                  11   seeks to seal:

                                  12      Paragraph, Page, and                                      Ruling
Northern District of California




                                             Line Numbers
 United States District Court




                                  13
                                              ¶3, 1:15, 17, 18         GRANTED. It is appropriate to seal material pertaining to
                                  14                                   ongoing investigations. See In re Hewlett-Packard Co. S’holder
                                                                       Derivative Litig., 2015 WL 8570883, at *6 (N.D. Cal. Nov. 18,
                                  15                                   2015).

                                  16              ¶4, 2:1-2            DENIED. This material relates to the Plaintiffs’ general
                                                                       allegations against Apple.
                                  17
                                                  ¶5, 2:4-8            DENIED as to the first sentence. The first sentence relates to
                                  18                                   Plaintiffs’ general allegations against Apple. GRANTED as to
                                                                       the remainder of the paragraph. The rest of the paragraph relates
                                  19                                   to specific information concerning Apple’s internal and
                                                                       confidential procedures and engineering details.
                                  20
                                                 ¶6, 2:9-13            DENIED. This material relates to the Plaintiffs’ general
                                  21                                   allegations against Apple.

                                  22            ¶9, 2:20-23            DENIED. This material concerns external communications and
                                                                       relates to Plaintiffs’ general allegations against Apple and
                                  23                                   external communications.

                                  24        ¶10, 2:24-27, 3:1-2        GRANTED as to the first sentence. This sentence relates to
                                                                       Apple’s internal procedures and decision making. DENIED as to
                                  25                                   the second sentence. The second sentence relates to Plaintiffs’
                                                                       general allegations against Apple.
                                  26
                                                  ¶12, 3:6             DENIED. This material relates to Plaintiffs’ general allegations
                                  27                                   against Apple.
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                                   1     Paragraph, Page, and                                 Ruling
                                            Line Numbers
                                   2
                                               ¶14, 3:16        GRANTED. This material relates to Apple’s internal research
                                   3                            and development information.

                                   4        ¶369, 126:7-12      DENIED as to the first sentence. The first sentence relates to
                                                                Plaintiffs’ general allegations against Apple. GRANTED as to
                                   5                            the rest of the paragraph. This material relates to Apple’s internal
                                                                research and development information.
                                   6
                                            ¶371, 126:17-19     DENIED. This material relates to the general factual allegations
                                   7                            underlying Plaintiffs’ claims.

                                   8         ¶373, 127:1-3      DENIED. This material relates to the general factual allegations
                                                                underlying Plaintiffs’ claims.
                                   9
                                             ¶374, 127:7-8      DENIED. This material relates to the general factual allegations
                                  10                            underlying Plaintiffs’ claims.

                                  11        ¶375, 127:10-14     DENIED. This material concerns external communications and
                                                                relates to Plaintiffs’ general allegations against Apple and
                                  12                            external communications.
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                                  13        ¶376, 127:15-21     GRANTED. This material concerns Apple’s internal procedures
                                                                and business strategy decisions.
                                  14
                                            ¶377, 127:22-26     GRANTED. This material concerns Apple’s internal procedures
                                  15                            and business strategy decisions.
                                  16         128:28 (n.39)      GRANTED. This material concerns specific and confidential
                                                                engineering and technical information.
                                  17
                                             ¶383, 130:4-7      DENIED. This material relates to the general factual allegations
                                  18                            underlying Plaintiffs’ claims.
                                  19        ¶384, 130:9-11      DENIED. This material relates to the general factual allegations
                                                                underlying Plaintiffs’ claims.
                                  20
                                            ¶385, 130:12-16     DENIED. This material relates to the Plaintiffs’ general
                                  21                            allegations against Apple.
                                  22        ¶386, 130:17-20     GRANTED. This material concerns Apple’s confidential
                                                                commercial information and strategy decisions.
                                  23
                                            ¶387, 130:21-27     DENIED as to the first sentence. The first sentence concerns
                                  24                            external communications. GRANTED as to the second sentence.
                                                                The second sentence concerns Apple’s internal research and
                                  25                            development.
                                  26         ¶388, 131:3-7      GRANTED. This material concerns Apple’s internal research
                                                                and development, and its engineering and technical information.
                                  27

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                                   1     Paragraph, Page, and                                  Ruling
                                            Line Numbers
                                   2
                                             ¶389, 131:8-14       GRANTED. This material concerns Apple’s internal research
                                   3                              and development, and its engineering and technical information.

                                   4        ¶390, 131:15-24       GRANTED. This material concerns Apple’s internal research
                                                                  and development, and its engineering and technical information.
                                   5
                                              131:28 (n.46)       GRANTED. This material concerns Apple’s internal research
                                   6                              and development, and its engineering and technical information.

                                   7         ¶391, 132:1-6        GRANTED. This material concerns Apple’s internal research
                                                                  and development.
                                   8
                                             ¶392, 132:7-12       GRANTED. This material concerns Apple’s internal research
                                   9                              and development, and its engineering and technical information.

                                  10        ¶393, 132:14-15       GRANTED. This material concerns Apple’s internal research
                                                                  and development, and its engineering and technical information.
                                  11
                                            ¶394, 132:16-18       DENIED. This material relates to the general factual allegations
                                  12                              underlying Plaintiffs’ claims.
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                                  13        ¶395, 132:19-21       DENIED. This material relates to the general factual allegations
                                                                  underlying Plaintiffs’ claims.
                                  14
                                            132:25-28 (n.47)      GRANTED. This material concerns Apple’s internal research
                                  15                              and development, and its engineering and technical information.
                                  16         ¶396, 133:1-4        GRANTED. This material concerns Apple’s internal research
                                                                  and development, its engineering and technical information, and
                                  17                              its internal strategy decisions.
                                  18         ¶397, 133:5-12       GRANTED. This material concerns Apple’s internal research
                                                                  and development.
                                  19
                                            ¶398, 133:13-15       GRANTED. This material concerns Apple’s internal research
                                  20                              and development.
                                  21        ¶399, 133:16-18       DENIED. This material relates to the general factual allegations
                                                                  underlying Plaintiffs’ claims.
                                  22
                                            ¶400, 133:19-22       DENIED. This material concerns external communications and
                                  23                              relates to Plaintiffs’ general allegations against Apple and
                                                                  external communications.
                                  24
                                          ¶401, 133:26, 134:1-2   DENIED. This material relates to the general factual allegations
                                  25                              underlying Plaintiffs’ claims.
                                  26        ¶403, 134:11-13       GRANTED. This material concerns Apple’s internal
                                                                  commercial, research and development information.
                                  27

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                                   2
                                        ¶404, 134:15-20, 135:1-11      GRANTED. This material concerns Apple’s internal research
                                   3                                   and development, and its engineering and technical information.

                                   4          ¶405, 135:12-13          GRANTED. This material concerns Apple’s internal research
                                                                       and development information.
                                   5
                                              ¶406, 135:17-19          DENIED. This material relates to the general factual allegations
                                   6                                   underlying Plaintiffs’ claims.

                                   7          ¶407, 135:20-26          GRANTED. This material concerns Apple’s internal research
                                                                       and development, and its engineering and technical information.
                                   8
                                                ¶408, 136:1            DENIED. This material relates to the general factual allegations
                                   9                                   underlying Plaintiffs’ claims.

                                  10          ¶409, 136:9-11           DENIED. This material relates to the general factual allegations
                                                                       underlying Plaintiffs’ claims.
                                  11
                                              The Court further ORDERS that pursuant to with Civil Local Rule 79-5(f), Plaintiffs shall
                                  12
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                                       file a revised redacted version of the SAC that complies with this Order within seven days.
                                  13
                                              The Court further ORDERS that the parties are to comply with the following procedural
                                  14
                                       instructions for all future motions to seal. The standards for sealing laid down in case law, the law
                                  15
                                       of the case, and the Civil Local Rules still apply. The parties shall:
                                  16
                                              1. First, meet and confer in good faith as to whether to seal each specific portion of a
                                  17
                                                  document at issue.
                                  18
                                              2. If the parties cannot come to an agreement as to one or more specific portions of a
                                  19
                                                  document, they shall prepare a Joint Motion Regarding Sealing.
                                  20
                                                    a. Each party may include limited general argument in this body of Joint Motion,
                                  21
                                                        such as which standard the Court should apply.
                                  22
                                                    b. The Joint Motion shall include a table setting out the following for each portion
                                  23
                                                        sought to be sealed: the ECF number of the document in which it appears, the
                                  24
                                                        pincite, the supporting party’s argument for that specific portion, and the
                                  25
                                                        opposing party’s argument, if any, for that specific portion.
                                  26
                                                           i. For each specific portion, the supporting party shall cite particular facts
                                  27

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                                   1                           from the Civil Local Rule 79-5(d)(1)(A) declaration or elsewhere in the

                                   2                           record, case law, the Civil Local Rules, and the law of the case to support

                                   3                           its argument. The opposing party may do so as well, or simply argue that

                                   4                           the moving party has not met its burden.

                                   5                      ii. The table shall have the following format:

                                   6    ECF Number and Pincite of         Supporting Party’s                Opposing Party’s Argument
                                        Specific Portion                  Argument
                                   7

                                   8
                                              3. Absent good cause, the Court will not consider any filings beyond the Joint Motion in
                                   9
                                                  connection with sealing a particular portion of a document.
                                  10
                                              4. The provisions of Civil Local Rule 79-5, including 79-5(d)(1)(A)-(D), shall otherwise
                                  11
                                                  apply to each Joint Motion Regarding Sealing.
                                  12
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                                              The Court further ORDERS that the other motions to seal currently pending (dkt. 279,
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                                  13
                                       311) are denied without prejudice. In light of the Court’s ruling as to specific portions of the
                                  14
                                       SAC, the parties are to meet and confer as to the sealing of Plaintiffs’ Opposition to the Motion to
                                  15
                                       Dismiss the Second Amended Complaint and of the transcript of the March 7, 2019 hearing.
                                  16
                                       Within 10 days of the date of this Order, the parties shall file separate Joint Motions Regarding
                                  17
                                       Sealing for each of those documents.
                                  18
                                              IT IS SO ORDERED.
                                  19
                                       Dated: April 22, 2019
                                  20
                                                                                        ______________________________________
                                  21                                                    EDWARD J. DAVILA
                                                                                        United States District Judge
                                  22

                                  23

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